               Case 1:17-cv-00445-JDB Document 35-6 Filed 10/15/18 Page 1 of 1




   Chililren's National                                  WILLIAIWS, HELLYON
                                                         Encountcr #;        L4T6O2O22
                                                         Admit Dare:         t0l4l20L4                                DischargoDaler LU5|2OL4



                                                              UM C-Monocyte                                 R€lor€nce rangs : 9.4 lo 1 2,3
                                                              UM C-Monocyte                                 Unlt:%
                                                              UM c-EoslnoPhils                              1.0
                                                              UM C-Eoslnophlls                              Befurence range: o.o to 3.7
                                                              UM c-Eoslnophlls                              Unlt:o/"
                                                              UM c-BasoPHls                                 o,4
                                                              UM C-Basopfdls                                Relerenie range: 0.0 to 0.7
                                                              UM c-Basopldls                                Unlt:"6
                                                              UM AB-NEutrophils                              6.9
                                                              UM AB-Nsurophlls                               Referenoe range: 1.3 to 7,4
                                                              UM AB-Neutrofills                              Unil: IVoUMM
                                                              UM AB-Lymphocytes                              3.6
                                                              UM AB-LymphocYtes                              Refersnco range: 0.4to 3,7
                                                              UM AB-LYmPhocytes                              UNIt: K/CUMM
                                                              UM AB-Monoc$es                                 1.1
                                                              UM AB-MonocYtes                                Rofer€nce range; 0.1 to 1.2
                                                              UM AB-MonocYtas                                Unlt: l(CUMM
                                                              UM AB-Eoslnophils                              0.1
                                                              UM AB-Eoslnophils                              Floference rang6:0.0 to 0,4
                                                              UM AB-Eoslnophlls                              Unil: K/cUMM
                                                              UM AB-Basophlls                                0.1
                                                              UM AB-BasoPhils                                R€lerenc€ range:0.0 to 0.1
                                                              UM AB-Basophlle                                Unlt: IVCUMM
                                                              UMc Acc# CBC                                   Medltech Accesslon Number:
                                                                                                             1 003:H00088S

                                                               UMc Acc# cBC                                  Pedormed by Unltad Medlcal C€nler, 1310
                                                                                                             Soulhern Ave, SE, Washington, DC 20032,
                                                                                                              (202)s74.6550.


         , lnterprotalion Labs unremarkable.


   Reexamlnatlon/ Reevaluatlon
         Re.examlnatlon/Re.evaluatlon:Timal0/03/1416:16:00'coursoUnchanggd.
                                                                                  pain down to 6lrom 10;wants to taks llqulds po.
         Re-examlnaflon/Ee.evaluaflon: Tlme 10/03/1417:47:OO, Courso lmproving,
                                                                                               po but sttll c/o paln'.
         Re.examlhatlon/noevaiu"iton r Tlms . 10/03/14 18 i06:00, Courss Unchanged, lool( some
         Re-examlnailon/Re-evaluaflon: Tlme 1o/oo/1420:42:00,coursowasplannlngondlschafg€butbscamellghheadsdandnauseous.

   Addendum
      Note added 1 0/5il 4 2130
      Eveils subsequont lo las{ entry:
                                                                                    and got lab studies whlch r€vealsd elsvated llver enzym€s and ulkubln'
      Aftor paiient became tatnt on siandlng started lvf-."i ]. li? maintalnence
                 lor admissbn  ror mJnlg;m?ni   oirreparrus, wHre     atarrtng transporipatlent  had a sudden siiflening of enllre body and tachycardla to tho
      Arrang€d
                           sborrt 45 s6;nds. He  lhsn  w6nt  back  to  his baieline.'Durlhg slgn oul to Dr smlth h6 had anothgr sudden spasm ot stiffenlng and
      1.t.,s. Ev€nt lastsd
                                       Ebdo;rn"t       Rooiuonat    labs  wer6  obtalned looklng forany  evidence ot hedl disease. EKG was also obtalned'
      eomptalnsd of ssv€r€   stauurng            frin.


   DOCUMENT NAME:                                                                ED Note-Provlder
   DOCUMENT STATUS:                                                              Aulh (Verltled)
   RESULT DATEi                                                                  101412014 01 :20 EDT
   PERFORMED INFORMATION :                                                       SMITH,SoPHIA RENYA MD (10/4/2014 01:22 EDT)
   SIGN INFORMATION                                                              sMITH,SOPHIA RENYA MD (10/412014 01 :22 EDT)

   Atlilendum

   Patient WILLIAMS, HELLVON MRN3 020358199                           Fl,N:.1427602022
   Age: lTyears Sex: Male DoB:. o2l'l3ls7
   Assoclated Dlagnoses: None
   AuthoT: SMITH, SOPHIA BENYA MD
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     Ir rare ciruu*Ftffes, tln fort on flre prinlerl dloam*ntr may difltr $onr tlrp achul font chosen within llre
     page one forrno:c ilatail'                                                                                                                             EXHIBIT
                             4'168rsl                                                                                kinted! 4/30/2015 13:33
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ffi**t"eqtestlDr
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